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AO 120 (Rev. 08/10)

                            Mail Stop 8                                                       REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                             FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                              ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                   TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court                                                                              on the following
         Trademarks or            Patents.   (    the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                      U.S. DISTRICT COURT

PLAINTIFF                                                                  DEFENDANT




        PATENT OR                      DATE OF PATENT
                                                                                      HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                     Amendment                    Answer            Cross Bill           Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                      HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1

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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT




CLERK                                                      (BY) DEPUTY CLERK                                            DATE



Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
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